        Case 1:20-cv-00966-JPB Document 12 Filed 06/19/20 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 DAKOTA HOLT,

              Plaintiff,
                                                CIVIL ACTION NO.
       v.                                       1:20-CV-00966-JPB
 AKSHARI ENTERPRISE, INC.,

              Defendant.

                                       ORDER

      This matter comes before the Court on the parties’ Joint Stipulation to Approve

Consent Decree and to Dismiss with Prejudice [Doc. 11]. Having reviewed the

Consent Decree, the parties’ stipulation is GRANTED.

      IT IS HEREBY ORDERED that the parties’ Consent Decree is approved, and

Plaintiff’s claims are DISMISSED with prejudice, with each party to bear their own

attorney’s fees and costs except as otherwise stipulated between the parties pursuant

to the Consent Decree. The Court shall retain jurisdiction to enforce the terms of the

Consent Decree.

      SO ORDERED this 19th day of June, 2020.
